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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 Blaine Franklin Shaw, et al.,

                      Plaintiffs,
                                                     Case No. 6:19-CV-1343-KHV-GEB
 v.

 Herman Jones, in his official capacity as
 the Superintendent of the Kansas Highway
 Patrol, et al.,

                         Defendants.



 Mark Erich and Shawna Maloney,
 individually and as mother and natural
 guardian of minors D.M and M.M,

                        Plaintiffs,
                                                     Case No. 20-CV-01067-KHV-GEB
 v.

 HERMAN JONES, in his official capacity
 as the Superintendent of the Kansas
 Highway Patrol,

                        Defendant.



          PLAINTIFFS’ MOTION TO UTILIZE UNOFFICIAL TRANSCRIPTS

        Pursuant to Local Rule 80.1, Plaintiffs request leave to utilize unofficial transcripts in

submitting their proposed findings of fact and conclusions of law. On May 12, 2023, the Court

ordered Plaintiffs to file proposed findings of fact and conclusions of law by May 20, 2023. To

meet that deadline, Plaintiffs need to rely on unofficial trial transcripts.
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       WHEREFORE, Plaintiffs respectfully request that the Court authorize use of uncertified

transcripts for Plaintiffs’ proposed findings of fact and conclusions of law.

                                                  Respectfully submitted by,

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                                                                                     KC 20416980.1
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of May 2023, a copy of the foregoing was filed and
served via the Court’s electronic filing system on all counsel of record.

                                               s/ Madison A. Perry
                                               Attorney for Plaintiffs




                                                                                    KC 20416980.1
